           Case 2:10-cr-00210-WBS Document 29 Filed 02/14/12 Page 1 of 3


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     Telephone: (916) 498-5700
 5
 6
     Attorney for Defendant
 7   ROBERT E. ROSENAU
 8
 9                      IN THE UNITED STATES DISTRICT COURT
10                    FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12
     UNITED STATES OF AMERICA,          )   No. 2:10-cr-0210 WBS
13                                      )
                     Plaintiff,         )
14                                      )   STIPULATION AND [PROPOSED] ORDER
          v.                            )   VACATING DATE, CONTINUING CASE
15                                      )   AND EXCLUDING TIME
     ROBERT E. ROSENAU and              )
16   DONNA M. ROSENAU,                  )
                                        )   Date: April 2, 2012 (TCH)
17                   Defendants.        )   Time: 9:30 a.m.
                                        )   Judge: Hon. William B. Shubb
18   _______________________________
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20
          IT IS HEREBY STIPULATED by and among Assistant United States
21
     Attorney Russell Carlberg, Counsel for Plaintiff, Scott Tedmon, Counsel
22
     for Donna M. Rosenau, and Assistant Federal Defender Jeffrey L.
23
     Staniels, Counsel for Robert E. Rosenau, that the jury trial scheduled
24
     for May 1, 2012, be vacated and re-calendared for May 8, 2012 at 9:00
25
     a.m., at the request of counsel for Mr. Rosenau. This continuance is
26
     sought in order to accommodate Mr. Staniels’ request so that he may
27
     attend to personal family matters in mid-April and still have a
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           Case 2:10-cr-00210-WBS Document 29 Filed 02/14/12 Page 2 of 3


 1   reasonable amount of time for last minute trial preparations.         The
 2   Trial Confirmation Hearing now calendared for April 2, 2012, shall
 3   remain as currently set. The court is advised that Mr. Staniels has
 4   consulted with Mr. Tedmon and Mr. Carlberg who both have said they are
 5   agreeable to the one week continuance, and also with this court’s clerk
 6   who has advised that the date of May 8, 2012 is available on the
 7   court’s calendar.
 8        IT IS FURTHER STIPULATED that time for trial under the Speedy
 9   Trial Act which has been excluded until May 1, 2012, CR 25 be further
10   excluded from May 1, 2012 until May 8, 2012 2011, pursuant to 18 U.S.C.
11   § 1361(h)(7)(A) & (B)(iv), Local code T-4, for continuity of counsel
12   and defense preparation.    Given the brevity of the requested
13   continuance outlined above the parties request that this court find
14   that the interests of justice served by granting this request outweigh
15   the interests of the defendant and the public in commencing trial on
16   May 1, 2012, rather than on May 8, 2012.
17        IT IS SO STIPULATED.
18
19   Dated: February 9, 2012                 /S/Russell Carlberg
                                            Russell Carlberg
20                                          Assistant U.S. Attorney
                                            Counsel for Plaintiff
21
22   Dated: February 9, 2012                 /S/ Jeffrey L. Staniels
                                            JEFFREY L. STANIELS
23                                          Assistant Federal Defender
                                            Attorney for Defendant
24                                          ROBERT E. ROSENAU
25
     Dated: February 9, 2012                /S/ Scott Tedmon
26                                          SCOTT TEDMON
                                            Attorney for Defendant
27                                          DONNA M. ROSENAU
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              Case 2:10-cr-00210-WBS Document 29 Filed 02/14/12 Page 3 of 3


 1                                        O R D E R
 2
 3        The one week continuance sought in the attached stipulation of the
 4   parties is hereby Granted.        For the reasons stated and agreed to by all
 5   parties the court does find that the interests of justice served by
 6   granting the request outweigh the interests of the public and the
 7   defendants in a Speedy Trial.        The jury trial scheduled for May 1, 2012
 8   is continued to May 8, 2012 at 9:00 a.m.
 9        IT IS SO ORDERED.
10                           By the Court,
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12   Dated:    February 13, 2012
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